  Case
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )         Case Number: 24-11552
BERKSHIRE INVESTMENTS, LLC                    )
                                              )              Chapter: 11
                                              )
                                              )                       Honorable David D. Cleary
                                              )                         SELECT IF OUTLYING AREA
               Debtor(s)                      )

  ORDER GRANTING MOTION OF DEBTOR (A) FOR AUTHORITY TO (I) PAY CERTAIN
 PREPETITION EMPLOYEE WAGES, SALARIES AND OTHER COMPENSATION, (II) PAY
   AND HONOR EMPLOYEE MEDICAL AND OTHER BENEFITS, AND (III) CONTINUE
      EMPLOYEE BENEFIT PROGRAMS: (B) TO OBTAIN RELATED RELIEF (C) FOR
                         SHORTENED AND LIMITED NOTICE THEREOF
        This matter coming to be heard on the motion of Berkshire Investments LLC (the "Debtor"),
pursuant to 11 U.S.C. §§ 363, 507, 1107(a) and 1108, for an order authorizing the Debtor to pay certain
prepetition employee wage, health insurance, and other related obligations, and for shortened and
limited notice thereof (the “Motion”); any capitalized terms not otherwise defined herein having the
same meanings as set forth in the Motion; the Court having reviewed the Motion and having determined
that cause exists to grant the relief requested therein; and the Court having jurisdiction and the subject
matter of the Motion;

   IT IS HEREBY ORDERED:
1. The Motion is granted as set forth herein.
2. The Debtor is authorized, but not directed, to pay, perform, and honor, as applicable, the Prepetition
Employee Obligations, including payment to any third parties that provide or aid in the monitoring,
processing, or administration of the Prepetition Employee Obligations, as and when such obligations are
due; provided, however, that payments of wages and salary to any individual Employee (including Mr.
Patrick Balson and Mr. Richard Jenkins) after the Petition date on account of amounts accrued prior to
the Petition Date, shall not exceed amounts afforded priority status by sections 507(a)(4) and 507 (a)(5)
of the Bankruptcy Code.
3. The Debtor is authorized, but not directed, in its sole discretion to perform, honor, and continue the
Employee Insurance Benefits and Employee Benefit Programs in the ordinary course.
4. The relief granted herein shall not constitute or be deemed an assumption or an authorization to
assume any executory contract to which the Debtor is a party, including any benefit plans or
employment agreements.
5. Due to the immediate and irreparable harm that would occur if the Motion were not granted, the
requirements set forth in Fed. R. Bankr. P. 6003(b) are satisfied with respect to the relief granted herein.
6. Notwithstanding Fed. R. Bankr. P. 6004(h), this order shall be effective and enforceable immediately
upon its entry.
7. The Debtor is authorized to take all steps necessary to carry out this order.
8. All applicable financial institutions are authorized to process, honor, and pay any and all checks or
wire transfer requests, as may be requested by the Debtor to effectuate payment of Prepetiton Employee
Obligations.
9. Notwithstanding anything to the contrary contained herein, any payment made or to be made under
this order, any authorization contained in the order, or any claim for which payment is authorized
hereunder, shall be subject to the requirements imposed on the Debtor under any orders of this Court
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approving any debtor in possession financing for, or use of cash collateral by, the Debtor and any
budget in connection therewith.
10. Nothing in this order may be constructed as approving any transfer pursuant to 11 U.S.C. § 503(c)
and a separate motion shall be filed for any request that could fall within section 503(c).
11. Shortened and limited notice of the Motion is granted, such that the notice period and parties
reflected in the certificate of service attached to the Motion are deemed adequate and sufficient under
the circumstances, and no other or further notice of the Motion need be given.

                                                          Enter:




Dated: August 14, 2024                                             United States Bankruptcy Judge

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